Case
 Case1:20-mj-00065-B
       1:20-mj-00065-B Document
                       *SEALED*2-2
                                 Document
                                   Filed 08/04/20
                                           2 *SEALED*
                                                  Page 1Filed
                                                         of 1708/04/20
                                                                 PageIDPage
                                                                       #: <pageID>
                                                                            1 of 1
                                   PageID #: 2
ÂO   108 (Rcv,   0d09) Àpplicalion    for a Warr¿nl to.Scizc Propcrly Subjcd to F'orfeiturc




                                               UNrreo Srerps DrsrzucT CoURT
                                                                                  for the
                                                                Southern District of Alabama

                   In the Matter of the Seizure            of                          )
                 (Brietly dcscribe   the   property to he scized)                      )
     The contents of USAA Federal Savings Bank                                         )      Case No.     MJ-   â.0-0Ò65-B
  account         323-7 held in                                                        )
                       name                                                            )                 Filed under seal

                                                       APPLICATION FOR A WARRANT
                                                TO SEIZE PROPERTY SUBJECT TO FORFEITURE


        I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of pedury that I have reason to believe that the following property in                           the
                                                                                        , Western District of
            Texas             is subject to forfeiture to the United States of America under
981(b), 982(b) (describe the properly)
The contents of USAA Federal Savings Bank account             323-7 held in                     name, as identified in
the attached affidavit. A cashie/s check shall be made payable to the United States Marshals Service and provided to
FBI SA Lawrence Spurlin, 200 N. Royal Street, Mobile, AL 36602.




           The application is based on these facts:

See attached afñdavit




           d      Continued on the attached sheet.


                                                                                                                          ,s



                                                                                                                                Special Agent
                                                                                                               Prinled name and title



Sworn to before me and signed in my presence.




Date:                                3
                                           'î¿âù                                                                        3


City and state          Mobile Alabama                                                             Sp¡iu       Bivins, U.S. Magistrate Judge
                                                                                                                Printed name and ¡itle
Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 2Filed
                                                         of 1708/04/20
                                                                 PageID Page
                                                                        #: <pageID>
                                                                             1 of 16
                                   PageID #: 3


              AFFIDAVIT IN SUPPORT OF WARRANTS TO SEIæ PROPERTY

       I, Lawrence   Spurþ being duly sworn, state as follows:

                          INTRODUCTION AND AGENT BACKGROUNI)
       I am a Special   Agent of the Eederal Bureau of Investþation ("FBI"). I have      been so   empþed

  since Juþ 8, 2018. I have worked as anFBI Special Agent since Juþ 2018. I am currentþ            assþed

  to the Mobile fïeld office, where I have been assigned to a white-collar crime squad since gradu-

  ating from the Academy in November 2018. Among my duties as a Special Agent, I have partici-

  pated in investþations of persons sur¡pected of various violations of Title 18 of the United States

  Code, including wire fraud" money laundering, public comrptior¡ bribery, bank          frau{   and various

  other white collar crimes. I have been invoþed in several investþations targeting various fraudu-

  lent schemes that resulted in the issuance of seizure warrants, search warrants, and arrest warrants.

  Additionally, I have experience in investþating individuals who attempt to conceal proceeds of

  illegal acts, such   as   wire fraud" inchrding through the use of multþle fmancial accounts and busi-

  ness entities to disguise the true owner of      illicit funds they control through   these accounts and

  entities. I have become knowledgeable about the methods and means by which money is laundered

  and the efforts of persons involved in such activities to avoid detection by law enforcement. As a

  special agent, I have used a variety of investþative techniques and resources, including physical

  and electronic surveillance, undercover operations, and cooperating sources of information. Prior

 to   joining the FBI, I was an agent for U.S. Customs and Border Protectior¡ Air and Marine Oper-

 ations for one year.

       Pursuant to 18 U.S.C. $ 981(b) and2l U.S.C. $ 853(Ð, I have prepared this affidavit to obtain

 warrants to seize the property described in Attachment A (the '?roperty"). There is probable cause

 to believe that Brandon Leross Bailey ("8. Bailey") has committed violations of 18 U.S.C. $$ 152,

  1343,   l3M. and 1956 atvarious       times in the Southern District of Alabama, andthere is probable

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Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 3Filed
                                                         of 1708/04/20
                                                                 PageID Page
                                                                        #: <pageID>
                                                                             2 of 16
                                   PageID #: 4


 cause to seize the Property in connection   with those violations.   18 U.S.C. $ 981(a)(1)(C) and 28

 U.S.C. ç 2461 provide for criminal forfeiture of proceeds relating to bankruptcy fraud and wire

 fraud. There is probable cause that the Property is property, realor personal, which constitutes or

 is derived from proceeds traceable to the offenses. Moreover, 18 U:S.C. $ 982(aX2) provides for

 criminal forfeihre of proceeds relating to bank fraud. There is probable cause that the Property   is


 propetry, real or personal, involved in such.offense, or is traceable to such property. Finally,   18


 U.S.C. $$ 981(a)(l)(A) and 9S2(a)(1) authorize the forfeinre of property involved in amoney laun-

 dering offense or any property faceable thereto.l The property invofued in a money laundering

 offense includes the actual money laundere{ commissions or fees paid to the launderer, and prop-

 erty used to facilitate the laundering offense. There is probable cause that B. Bailey committed

 money laundering, that the specified unlawful activify was bankruptcy fraud wire fraud and/or

 bank fraud, and that the Property was invohed in money laundering as outlined in this affidavit.

     This investþation is being conducted jointly by the FBI, the Social Security Adminisfation

 Office of the Inspector General ("SSA-OIG'), and the United States Air Force Office of Special

 Investigations. Information obtained as a result of the investþative efforts of each agency is being

 shared with agents from the other agency and incorporated into my affidavit. The facts set forth in




 I See (Jnited States v. Puche,350 F.3d 1137, 1154 (1lth Cir. 2003) (afflnrning money þdgment
 equal to sum of commission paid to money launderer and value of untainted fi¡nds used to facilitate
 the offense); see also United States v. Kennedy, 201 F.3d 1324, 1326 (llth Cir. 2000) (equity
 defendant acquired when he used SUA proceeds to buy a residence is forfeitable as property in-
 volved inaviolation of section 1957); UnitedStatesv.Seher,562F.3dl34/,, 1369 (llttì Cir. 2009)
 (clean money in bank account into which þweler deposited money from drug dealers as part of
 conceaknent money laundering offense was forfeitable because it gave the transaction a facade of
 legitimacy); United Statesv. Huber,4}4F.3d1047, 1056, 1058 (Sth Cir. 2005) ("Forfeiftre under
 section 982(a)(1) in a money laundering case allows the Government to obtain a money þdgment
 representing the value of all property 'invofued in' the offense, including the money or other prop-
 erty being laundered [the corpus], and 'any property used to facilitate the laundering offense"'; the
 corpus includes untainte{ commingled property).

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Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 4Filed
                                                         of 1708/04/20
                                                                 PageID Page
                                                                        #: <pageID>
                                                                             3 of 16
                                   PageID #: 5


  thi;s   affidavit are based on my own personal knowledge, knowledge obtained from law enforce-

 ment officers, review of documents, frrancial records, andcomputer records relatedto this inves-

 tigation, communications with others who have personal knowledge of the events and circum-

 stances described herein (including particþants), attorneys            invohed in and evidence presented in

 civil suits pertinent to this investigation, and information gained through my training and experi-

 ence and the training and experience of other law enforcement offlrcers.          I have not included every

 fact that other law enforcement agents and I have learned dwing my investigation. I have only

 included those facts that I believe are sufficient to establi.sh probable cause that the violations set

 forth above occurred and are occurring and that the Property is forfeitable to the United States.        All

 dates, times, amounts, and locations described below are my approximations.

                                            PROBABLE CAUSE

          On   Juþ 14,2010, a general court-martial composed of a miliøry þdge convicted B. Bailey, a

 former U.S. Air Force ('USAF") Major from Butler, Alabama, of four specifications of wrongful

 use of a controlled substance,     fve   specifications of wrongful possession of controlled substances,

 one specif,rcation of wrongful appropriation, and three specifîcations of theft, in violation of Uni-

 form Code of Military Justice Articles         Il2a   and,   I2I, l0   U.S.C. $$ 912a and92l. B. Bailey's

 sentence consisted of a dismissal and three months           of confnement. Upon completion of the con-

 fnement in October 2010, B. Bailey was placed         on,   appellate review leave. From ttrat point onward,

 hq was not entitled to pay and benefits and should no longer have received any pay or compensa-

 tion from the USAF. On March 1g,2013, ttìe USAF Court of Criminal Appeals affrrned B. Bai.

 ley's sentence and denied his appeal Pera General Court-Martial order dated September 17, 2013,

 B. Bailey officiaþ ceasedto be amember of the Air Force on October 1,2013. However, the

 Defense Finance andAccounting Service ("DFAS'), which provides pay.ment services to the U.S.



                                                        3
Case 1:20-mj-00065-B *SEALED*  Document
                      Document 2-2       2-1 *SEALED*
                                   Filed 08/04/20 Page 5Filed
                                                         of 1708/04/20
                                                                 PageID Page 4 of 16
                                                                        #: <pageID>
                                   PageID #: 6


  Deparfrnent of Defense, was not properly notified of B. Bailey's dismissal Due to an administra-

  tive error, B. Bailey was kept on USAF payroll until March 2017. The errorwas caught in March

  2017, andB. Bailey's payroll checks were retained by DFAS from mid-M .arch 2017 to September

  2017.

     For October 2010 to mid-March 2017, the Air Force suffered an $818,918.36 loss as a resuh

  of the administrative error (base pay of $532,986.30; fty pay of          5ß,202.50; base allowance for

 housing of $226,568.77; base allowance forsubsistence of $18,871.04; FICA employer match of

  529,637.56; and Medicare employer match of $7,652.19). The paychecks were direct deposited

 into B. Bailey's checking account                  880-3 at USAA Federal Savings Bank ('USAA").

 These payments were tracedto his bank statements for mid-August 2013 to mid-March 2017.

     Uhimateþ, B. Bailey caprtalund on the payroll mistake. He continued to receive unearned

 payroll checks from the Air Force from October2010 to March2017. His hstDD-2!4(Certifrcate

 of Release or Discharge from Active Duty) was updated on Augus           t ll,   2017   with an effective date

 of October   t,   ZO|Z. Despite no longer being in the    Air Force, I know through my investþtion that

 B. Bailey continued to access his MyPay account with the Air Force, where he could obtain erro-
                                       'W-2s,
 neor¡s documents such as annual                 monthþ payroll statements, a Deparfinent of Veterars

 Affairs Loan Guaranty Certific ate, anda periodic Deparfrnent of Defense Manpower Data Center

 Status Reports showing active duty. Additionally, B. Bailey continued to access heahhcare              atmil-

 itrary treatrnent   facilities afterbeing placed on appellate review leave in October 2010. Atvarious

 times after his general court-martial in July 2010 B. Bailey falseþ reþresented his income and

 employment status to various entities for personal financial gain.

     B. Bailey and                          ("             '') are long-term cohabitants. They have shared

 corrmon addresses beginning in 2003 and continuing to the present.                         changed his name



                                                       4
Case 1:20-mj-00065-B *SEALED*  Document
                      Document 2-2       2-1 *SEALED*
                                   Filed 08/04/20 Page 6Filed
                                                         of 1708/04/20
                                                                 PageID Page 5 of 16
                                                                        #: <pageID>
                                   PageID #: 7


  from                               to                                         in April 2003. B. Bailey

 and             have listed eachotherasbeneficiaries of eachother'sbankaccounts. Throughout B.

 Bailey's marføge to                 from 2005 to 2013, B. Bailey and                  sharedaddresses in

 coÍrmon while           shared addresses in common with B. Bailey's sister

     OnOctober2,2014, B. Bailey applied forahome construction loan through WestAlabama

 Bank&Trust.The ptrpose of theloan wastobuild thehouse at                                      { Butler, Ala-

 bama 36904. OnJanuary 6,2015, B. Bailey closed onthe construction loan for$130,624.00 with

 West Alabama Bank. The loan account number was 881901. In his loan application, B. Bailey

 claimed to be a military officer making $82,234.80 in annual wages. B. Bailey's representations

 to the bank were fraudulent because he did not declare in his application that he in fact was dis-

 missed from ttre Air Force on October    l,   2013 and that he was not in active st¿tus   n   2014 or 2015.

 During thii time perio{ B. Bailey should not have been receiving any wages from the USAF.

     On September 4,20!5, B. Bailey applied for a Departrnent of Veterans Affairs              ('1/4") home

 loan to refinance the construction loan for his residence at 1131 Bailey Road" Butler, Alabama

  36904. The loan application was through V/est Alabama Bank. On Septembe          r   20,2015, B. Bailey

 signed amortgage fraudwarning document aspartof his loan application. OnNovember 18,2015,

 B. Bailey used                  y@me.com during the loan application process to send proof of

 paychecks and employment with the Air Force to the bank's loan offrcer and misrepresented his

 military status. On December 18, 2015, B. Bailey closed on the loan for $153,000 with WestAla-

 bama Bank. B. Bailey fraudulentþ used his effoneous cr¡rrent service records to obtain the loan.

 In his mortgage loan application, he used his federal tax returns from20l4 and 2015 in which he

 claimed his   Air Force income. B. Bailey's representations to the bank were fraudulent because he




                                                      5
Case 1:20-mj-00065-B *SEALED*  Document
                      Document 2-2       2-1 *SEALED*
                                   Filed 08/04/20 Page 7Filed
                                                         of 1708/04/20
                                                                PageID Page 6 of 16
                                                                       #: <pageID>
                                   PageID #: 8


 did not declare in his application that he in fact was dismissed from the Air Force on October l,

  2013, thathe was not in active status rn2015, and was not entitled to any wages from the USAF.

     B. Bailey made numerous transfers to savings account                 330   -4 n     the name of

          ('          '') at USAA. There were three accounts for           at   USAA:checking savings,

 and investment. They wereopened using                      name andidentiflrers but listing B. Bailey's

 email address                  @me.com.                  email associated with herV/estAlabama Bank

 accountwasj                  me.com. BetweenDecember 2013 andJune 2016, B. Bailey electron-

 icaþ     transferred $113,916 from his USAA checking account                 880-3 to                 USAA

 savings account             330-4. Numerous ffansfers occurred wittrin a close timeframe and in sim-

 ilar dollar amounts of the USAF payroll deposits that B. Bailey received. For example, on March

  13,20I4,DFASdeposited $4,147.27 into B.Bailey's USAAchecking account                          880-3. On

 that same day, B. Bailey transferred $4,148 from his USAA checking account                     880-3 to

               USAA savings account          330-4.

     Similar transactions occurred onApril      l,20!4,May 6, 2014, andMay         16, 2014, among other

 dates.   In September and October 2017, B. Bailey made three transfers totaling $28,500 from his

 USAA savings account               1849-7 to               USAA savings account                330-4. Be-

 tween December 2013 and June 2016, transfers totaling 864,325.73 were made from

 savings account             330-4 to B. Bailey's checking account               880-3. BetweenJanuary

  2014 andNovember 2017, $140,320 from                      savings account              330-4 was usedto

 purchase mutual funds in                USAA investment account                 4338.

     BetweenAugust 2014 and Juþ 2018, withdrawals were made from that investment account

 totaling 5142,773.47 and distnbuted to                        USAA savings account                    330-4

 (562273.47),                  USAA checking account               7172-4 ($71,000), and       B. Bailey's


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Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 8Filed
                                                         of 1708/04/20
                                                                 PageID Page
                                                                        #: <pageID>
                                                                             7 of 16
                                   PageID #: 9


 USAA checking account                        880-3 ($9,SOO). Of the $71,000 transferred to account

  8330-4, $66,000 was paid in checks to B. Bailey's WestAlabama Bank construction loan account

  881901 and $5,000 was ffansferred to B. Bailey's USAA checking account                                                                       880-3. TtF

 onþ sourcesof funds for                          USAA accounts wereB. Bailey's USAA checking andsavings

 accounts. The         onþ withdrawals or bills paid from                                            USAA accounts were to B. Bailey's

 USAA checking account and his V/est Alabama Bank construction loan account.

     Figure   I    shows the flow of money betweenB. Bailey's accounts and those accounts opened in

 J. Bailey's name.

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                                                                   Figure       I
     On Decemb er2I,2016, B. Bailey applied for a Visa credit card with Air Force Federal Credit

 Union. In the applicatior¡ B. Bailey identified                                            as   his beneficiary. B. Bailey also gave

 income and employment information in his applicatior¡ in which he falseþ stated that he was


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Case 1:20-mj-00065-B *SEALED*  Document
                      Document 2-2        2-1 *SEALED*
                                    Filed 08/04/20 Page 9Filed
                                                          of 1708/04/20
                                                                  PageID Page 8 of 16
                                                                         #: <pageID>
                                   PageID #: 10


 active military with the Air Force for over sixteen years and three months with a base salary of

 57,449.30 permonth. B. Bailey's representations to the credit union were fraudulent because he

 did not declare in his application that he in fact was dismissed from the Air Force on October   1,


  2013 andthat he was not in active status   n   2016.

     In continuing with his fraudulent course of conduct, on February 2,2017 B. Bailey reltnanced

 his 2015 Ford F150 pickup with Air Force Federal Credit Union. During the ap,plication process,

 B. Bailey used                @me.com to communicate with the credit union's loan officer. To

 prove his purported Air Force employment, B. Bailey sent the credit union a copy of his Depart-

 ment of Defense Manpower Data Center certificate to show that he was activeþ employed by the

 military as of February 11,2017, when in fact he was not activeþ employed as of ttris date.

     On Feb.ruary 26, 2019, B. Bailey f,rled for federal bankruptcy protection under Chapter 7. The

 bankruptcy was discharged on June 4, 2019. Among the claimed debtors were DFAS and TRI-

 CARE, the medical service provider for the Department of Defense. B. Bailey claimed filing status

 as single, and             relationshþ, cohabitation, and income were not included in the bank-

 ruptcy flrling. They had both been living at                     { Butler, Alabama since 2015. B.

 Bailey claimed in his bankruptcy petition ttrat his debts were primanþ consumer debts. Of      ttre


 5950,992.62 in listed unsecured debts, B. Bailey claimed that5736,602.00 owed to DFAS was for

 an alleged overpayment by DFAS and $1 15,029.32 owed to Express Scrþts was for an alleged

 overpayment by TRICARE. B. Bailey also claimed ownershþ of a 207gauge shotgun and ammu-

 nitior¡ which he cannot lawfuþ   possess due to his dismissal   atcourt-martial from the USAF. B.

 Bailey claimed to have onþ $1,500 in a USAA account.




                                                    8
Case1:20-mj-00065-B
Case 1:20-mj-00065-B *SEALED*   Document
                      Document 2-2        2-1 *SEALED*
                                   Filed 08/04/20 Page 10Filed
                                                          of 1708/04/20
                                                                  PageIDPage  9 of 16
                                                                         #: <pageID>
                                   PageID #: 11


      Prior to filing bankruptcy, on November 15, 2018 a$2,440 checkfrom Harley Simmons made

  out to B. Bailey was deposited into                USAA checking account                 847-0. On No'

  vember 28, 2018, B. Bailey transferred $9,000 frorn his USAA checking account                     880-3 to

               USAA checking account              847-0. OnFebruary 4,2019, B. Bailey transferred

  $17,000 from his USAA checking acconnt                 880-3 to             USAA checking account

           847-0. The source of these funds was an earþ distnbution from B. Bailey's USAA Roth

  IRA account            2935 in the amount of $34,699.62 tohis USAA checking account

   880-3 on November 27,2018.

      At the time of B. Bailey's bankruptcy filing              USAA checking account                   847-

  0 had a balance of $23,295.78. Neither of these transactions were disclosed in the bankruptcy

  petition. B. Bailey did not list any food" utilities, insurance or medical expenses in his petition in

  Schedule J. B. Bailey also did not list any income contribution from                   as an unmarried

  partner, member of household orroommate in his Schedule       Ifor food, utilities,   insurance

  ical or other expenses. B. Bailey's reported income was soleþ that from Social Security Disability

  Insurance ("SSDI") amounting to $1,881.60 per month. He did not report the $6,500 in 2018 in-

  come from Samford University or the $450 in monthþ rental income (S5,400 annuaÍy) from the

  property he owned at                                   , Butler, Alabama 36904.                   received

  monthþ income from SSDI ($1,673.00), VAdisability compensation ($1,113.86), andalife in-

  swance annuity ($397.50). B. Bailey signed the bankruptcy petition wittr the acknowledgement

  that all statements were true and correct under penalty of perjury and that making false statements

  or concealing assets was punishable by up to $250,000 in frres and/or imprisonment for up to 20

  years, or both.




                                                     9
Case 1:20-mj-00065-B *SEALED*  Document
                      Document 2-2       2-1 *SEALED*
                                   Filed 08/04/20       Filed
                                                  Page 11     08/04/20
                                                          of 17   PageIDPage 10 of 16
                                                                         #: <pageID>
                                   PageID #: 12


       Between 2010 and 2020,              received bank tansfers to his USAA checking account

            847-0 from B. Bailey's USAA checking account                  880-3 totaling 818g,g20.47,

  from B. Bailey's USAA savings account              849-7 totaling $19,375.00, and from B. Bailey's

  USAA investment account 36901452181 totaling .ö4,278.66.                  lly,   B. Bailey fnade pay-

  ments from his USAA checking account                   880-3 to          USAA MasterCard ending

  in 8611 totaling 59,527.17.

       Several of the transfers from B. Bailey to              were approximateþ the same amount      as


  B. Bailey's USAF pay. For example, on October 11,2013, B. Bailey received a credit from DFAS

  in the amount of $4,118.79 to his USAA checking account                880-3. OnOctober 15, 2013,

  B. Bailey transferred $4,118.79 from his USAA checking account                   880-3 to

  USAA checking account             847-0. Thatsame day,                transferred$4,l19.00 from his

  USAA checking account              847-0 to his USAA savings account                  323-7. Between

  November 1,2013 and December 13, 2013, four more transfers were made in dollar amounts of

  $4,000, $4,100, $4,119, and $4,119 from B. Bailey's checking account                  880-3toT

        checking account          847-0and,from there to                 savings account            323-

  7.   OnDecember 23,2013 and again on December 30, 2013,                       transferred $9,500 to B.

  Bailey's USAA checking account               880-3. B. Bailey then transferred those monies to

            USAA savings account           8330-4. B. Bailey's primary sor¡rce of income from Oc-

  tober 1, 2010 and Mrarch2}l7 was the USAF payroll deposit from DFAS into his USAA checking

  account           880-3. Additionally, B. Bailey began receiving SSDI benefits          in   June 2013

  through direct deposit into his USAA checking account                880-3.              made further

  transfers from his USAA checking account                 l84il-0tohis USAA checking account

   343-1.



                                                    10
Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 12
                                                        Filed
                                                          of 17
                                                              08/04/20
                                                                  PageIDPage
                                                                         #: <pageID>
                                                                             11 of 16
                                   PageID #: 13


      Figure 2depicts the flow of funds among B.Bailey's,                                       and            accounts.


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                                                            Figure 2

      B. Bailey had powqr of attorney for his mother,                                 , beguning on May 15, 20lg and his

  father,                           ('t       '), beginning on Juþ 1,2019. On Juþ 1,2019,                             updated

  his will naming B. Bailey as his sole inheritor. On July 11, 2019, B. Bailey exercised the powers

  of attorney for his parents to transfer deed of multþle properties owned by his parents to

  Bailey. The deed tansferwas recordedat 11:36 a.m. on Juþ 1I,20t9 and stamped as filed                                atI:I2
  p.m. on       Juþ I l,20Ig.

      B. Bailey's father,                 died at 12:39 p.m. on        Juþ      ll,    20Ig. The deed states that

  paid $200,440 for the property. At the time of the deed ffansfer, at least one parce! address

                        Butler, Alabama 36904, had an outstanding mortgage balance of $19,037.27 wtth

  Naheola Credit Unior¡ accourt                 5000, under                     name. The balance wasnot paid off by


                                                               11
                      Document 2-2
Case 1:20-mj-00065-B *SEALED*      Filed 08/04/20
                               Document           Page 13
                                         2-1 *SEALED*     of 17
                                                        Filed     PageIDPage
                                                              08/04/20   #: <pageID>
                                                                             12 of 16
                                   PageID #: 14


  any mortgage, refrnance, or probate. Records indicate that loan paymerits continued to be made by

  B. Bailey from his USAA Checking account                    880-3 through February 2020. No accounts

  have been found for                showing payments for property to either                or        . No

  accounts for            or             have been found showing payments from                   . The only

  mortgages found on the properties were the ones in place prior to the deed transfer. None of the

  mortgages were in                 name.

      B. Bailey was a signatory on                    accounts at West Alabama Bank and was the only

  person to   sþ   checks drawn on that account after the middle of May 2019. Several large deposits

  were made to the account in late Juþ 2019, corresponding to amount from insurance checks re-

  sulting from a claim from a house fire at                 residence on   Juþ 10, 2019. The checks were

  made payable to              estate.          and           divorced in 1989. Due to B. Bailey's bank-

  ruptcy filing on February 26,2019, any estate or inheritance received by B. Bailey prior to August

  24, 20Ig would have been subject to clawback pursuant to the bankruptcy and should have been

  reported to the trustee of the bankruptcy. Of the $89,250 from the insurance claim that was depos-

  ited to             West Alabama Bank account              1446,$60,000 was applied to              West

  Alabama Bank loan on ttre property.

      On August     I,20lg, B. Bailey wrote a check from                    West Alabama Bank checking

  accourt       1446 to             in the amount of $5,000 which                 deposited to his USAA

  checking account              847-0.OnAugust 8,20Ig, B. Bailey wrote a checkfrom

  V/est Alabama Bank checking account             1446to              in   ttre amount   of $9,000 which

            deposited to his USAA checking accourt                 847-0. A cashier's check drawn on

             WestAlabama Bank account            1446for$13,995 was deposited to B.'Bailey's USAA




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                      Document 2-2
Case 1:20-mj-00065-B *SEALED*      Filed 08/04/20
                               Document           Page 14
                                         2-1 *SEALED*     of 17
                                                        Filed     PageIDPage
                                                              08/04/20   #: <pageID>
                                                                             13 of 16
                                   PageID #: 15


  checking account              880-3 onDecember 13,2019. On December 23, 2019, B. Bailey trans-

  ferred $11,500 from his, USAA checking account                    880-3 to his USAA savings account

             u9-7.

       On March 30, 2020, B. Bailey wrote a check to himself on                       West Alabama Bank

  account       1446 in the amount of $5,000 which he deposited to his USAA checking account

            880-3. That same day, B. Bailey fansferred $5,000 from his USAA checking account

            880-3 tohis USAA savings account                   }19-7. OnApr   il 21,2020, B. Bailey wrote a
  check to himself on                W'est Alabama Bank account            1446 in ttre amount of $6,000,

  which he deposited to his USAA checking account                    880-3.   OnAprl27,    2020, B. Bailey

  transferred $6,500 from his USAA checking account                   880-3 tohis USAA savings accourt

            f}lg-7.            died on October 21,2019.

       In March 2020, B. Bailey and                 sold the property at                   . B. Bailey paid

  the outstanding princþal balance of $140,503.89        toM&TBankforB. Bailey's loan on

             the outstanding   princþl   balance of $73,049.   67 toWestAlabama      Bank for           loan

  on                  , and received acheckfor $210,982.10 which he deposited to his USAA check-

  ing account           880-3 on March       6,   2020. He fimher transferred various amounts from his

  USAA checking account                880-3 tohis USAA savings account                  849-Tondifferent

  dates: March 16, 2020 ($23,000); March 23,2020 ($187,000); and March 26,2020 ($10,000). On

  June   8, 2020, B.Bailey transferred $200,000 from his USAA savings account                   -18+7 to his

  USAA checking account                  880-3.

       On June 8,2020, B. Bailey wrote a checkfrom his USAA checking account                       880-3 to

  Charles Schwab and Company, Incorporated ('Charles Schwabi') in the amount of $200,000. The

  funds were deposited to an investrnent accoun!               4021,inB.Bailey's    name. This investment



                                                       13
                      Document 2-2
Case 1:20-mj-00065-B *SEALED*      Filed 08/04/20
                               Document           Page 15
                                         2-1 *SEALED*     of 17
                                                        Filed     PageIDPage
                                                              08/04/20   #: <pageID>
                                                                             14 of 16
                                   PageID #: 16


  account is subject to changes in market value and eams dividends that originate from criminal

  proceeds.                 does not appear on any    of   the accourt paperwork. The funds in the account

  were used to buy money market, equities, exchange traded funds, and mutual funds.

      Basedon the foregoing information, it appears that the Property contains funds constituting or

  traceable to funds constituting proceeds of B. Bailey Bailey's violations            of 18 U.S.C. $$ 152,      1343,

  and/or 1344. The Property contains proceeds traceable to funds that were invofued in fmancial

  transactions in property derived from specifîed unlawful activity, nameþ, violations                  of   18 U.S.C.


  $$ 152, 1343, and/or 1344, wherethe transactions were desþed in whole or in part to conceal

  and disguise the locatior¡ source, ownershþ, or control of the proceeds. As a resuh, such funds

  are subject to   civil forfeiture to the United   States prnsuant   to   18   U.S.C. $$ 93l(a)(lxA), 981 (a)(1)

  (C), and 984,     and,   are subject to ciiminal forfeiture pursuant          to 18 U.S.C $$ 981(aXlXC),        982

  (aXl), and,28 U.S.C. 5 2461. The fi¡nds are subject to seizure in accordance with 21 U.S.C.                        $


  8s3(Ð as well as 18 U.S.C. $$ 981(b) and 982(b).

      Fwthermore, there is probable cause rhatarestraining order under 21 U.S.C. $ S53(e) would

  be insufficient to assure that the flunds the United States seeks to seize           will   be available for forfei-

  ture. The offenses discussed in this affidavit invohe sizeable transfers of funds from one account

  to another for the furtherance of criminal objectives. B. Bailey has consistentþ relied upon mis-

  leading documents and funds transfers to achieve criminal ends. In light of these facts and the

  speedwith which electronic transfers of ftrnds canbe conducted seizure of the USAA and Charles

  Schwab accounts      - rather that their mere restraint - is appropriate for assuring that the fi¡nds will
  be available for forfeiture




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Case 1:20-mj-00065-B *SEALED*
                      Document 2-2
                               Document
                                   Filed 08/04/20
                                         2-1 *SEALED*
                                                  Page 16
                                                        Filed
                                                          of 17
                                                              08/04/20
                                                                  PageIDPage
                                                                         #: <pageID>
                                                                             15 of 16
                                   PageID #: 17



                                            CONCLUSION
       Based on the forgoing, I request that the Court issue the proposed seizure warrant.

       Respectfully submitted on July 31.2020.



                                                  Lawrence Spurlin
                                                  Special Agent
                                                  Federal Bureau of lnvestigation




    TI.IE ABOVE AGENT I-IAD ATTESTED
    TO TI-IIS AFFIDAVIT PURSUANT
    FED. R. CRIM.   4. r(bx2xA) Tr'ils   '8¿
    DAY OF


        A F.       NS
    UNITED      A TES MAGISTRATE JUDGE




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                      Document 2-2
Case 1:20-mj-00065-B *SEALED*      Filed 08/04/20
                               Document           Page 17
                                         2-1 *SEALED*     of 17
                                                        Filed     PageIDPage
                                                              08/04/20   #: <pageID>
                                                                             16 of 16
                                   PageID #: 18


                                         ATTACHMA,NT Ä
                                        Propgrtv to be seÍzed

         The items to be seized are all ttre frurds in each of the following fnancial accounts:

   No.   Account Holder        Institution                Account #           Ealance        Approximate
                                                                              as   of        Amount
                                                                              Date
   I     Brandon Leross        USAA Federal Savings               880-3
         Bailey                Bank                                            6/30120            g2A64.ss
   2     Brandon l-eross       USAA Federal Savings
         Bailey                Bank                               849-7        6130120            seAr2.es
   a
   J                           USAA Federal Savings
                               Bank                                323-7       6130120                $0.04
   4                           USAA Federal Savinp
                               Bank                                   847-0    6130120            s9,527.25
   5                           USAA Federal Savings               343-1            515120
                               Bank                                                                 $r4.43
   6     Brandon Leross
         Bailey                Charles Schwab Corp.              mzl           6130/20         $201,064.86
   7                           V/est Alabama Bank             14ø¡6            412U20
                               and Trust                                                          $7,001.26
                                                                                    Total:   s229.48s.34




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